       Case 1:13-cr-00077-LJO-BAM Document 66 Filed 06/12/13 Page 1 of 2


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 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,           ) Case No.: 1:13-CR-00077-LJO
                                         )
11             Plaintiff,                )
                                         )
12       vs.                             ) STIPULATION AND ORDER
                                         ) MODIFYING CONDITONS OF
13                                       ) RELEASE
                                         )
14                                       )
     ROBERT MURGUIA MARTINEZ,ET          )
15   AL.,                                )
                                         )
16             Defendant.                )
17

18       It is hereby stipulated by the United States of America,
19   through Assistant United States Attorney Kimberly Sanchez, and
20   the Defendant, through his attorney of record, Anthony P.
21   Capozzi that:
22       1. The Defendant’s travel is no longer restricted to
23   Tulare, Kern, Kings, Fresno, and Madera Counties; Defendant is
24   permitted to travel throughout the Eastern District of
25   California unless otherwise approved in advance by Pretrial
26   Services. Mr. Martinez’s employment requires travel throughout
27   the Eastern District of California.
28       2. The Defendant is no longer required to participate in
                                          - 1 -
            Stipulation and [Proposed] Order to Modify Conditions of Release
                              CASE NO.: 1:13-CR-00077-LJO
                           Case 1:13-cr-00077-LJO-BAM Document 66 Filed 06/12/13 Page 2 of 2


 1   the Home Detention component of the Location Monitoring
 2   Program.
 3                            United States Pretrial Services Officer Dan Stark has
 4   advised defense counsel that he does not object to said
 5   modification of Mr. Martinez’s release conditions.
 6

 7                            IT IS SO STIPULATED.
 8

 9   Dated: June 11, 2013                                            /s/ Kimberly Sanchez __
                                                                     Assistant United States
10                                                                   Attorney
11

12   Dated: June 11, 2013                                            /s/ Anthony P. Capozzi
                                                                     Anthony P. Capozzi
13                                                                   Attorney for
                                                                     ROBERT MURGUIA MARTINEZ
14

15                                                              ORDER
16

17                            For reasons set forth above, the Defendant’s conditions
18   of pretrial release shall be modified as follows: The
19   Defendant shall be restricted to travel throughout the
20   Eastern District of California and the Home Detention and GPS
21   tracking shall be removed. All other conditions shall remain
22   in effect.
23

24

25
     IT IS SO ORDERED.
26

27                         Dated:     June 11, 2013                        /s/ Sheila K. Oberto
                                                                  UNITED STATES MAGISTRATE JUDGE
28   DEAC_Signature-END:




                                                                  - 2 -
                                    Stipulation and [Proposed] Order to Modify Conditions of Release
                                                      CASE NO.: 1:13-CR-00077-LJO
